                                    EXHIBIT A

                            (Declaration of Deborah Green)




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